           Case 1:20-cr-00405-SHS Document 16 Filed 10/08/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                 :    20-cr-405 (SHS)

              -v-                                         :    ORDER

WALLYS TINEO,                                             :

                                Defendant.                :

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SIDNEY H. STEIN, U.S. District Judge.

       The proceeding scheduled for October 14, 2020, will occur as a videoconference using
the CourtCall platform at 9:00 a.m., not 11:00 a.m., as set forth in the Order dated October 7,
2020 [Doc. No. 15].

Dated: New York, New York
       October 8, 2020




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